                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                                  ABINGDON DIVISION


UNITED STATES OF AMERICA

v.                                                           Case No.: 1:19cr00011-001

ADRIAN JOSE ROMERO


                             MOTION TO AMEND INDICTMENT

       COMES NOW the defendant, Adrian Jose Romero, by counsel, and moves the Court to

amend the indictment to remove “aka Joseph Wayne Green,” and “also known as Joseph Wayne

Green,” and in support thereof, states as follows:

       1.      The Indictment identifies Adrian Jose Romero “aka Joseph Wayne Green,” in the

style of the case, and “also known as Joseph Wayne Green,” in paragraph 1. (Doc. 5).

       2.      Adrian Jose Romero is scheduled to plead guilty pursuant to a written plea

agreement on August 5, 2019. This motion is to amend the indictment before he enters the plea.

       3.      In discovery produced by the Government, the defendant’s criminal history has

two dates of birth, one of which is the defendant’s correct date of birth, two social security

numbers, one of which belongs to the defendant, and it indicates Joseph Wayne Green is a white

male with a fair skin tone. The defendant is dark skinned.

       4.      The defendant was in high school with Joseph Wayne Green. They were arrested

at the same time and while Joseph Wayne Green was passed out from intoxication the defendant

was fingerprinted as Mr. Green by mistake. Consequently, the FBI assigned one number to both

men.

       5.      The Government objects to this motion.




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       WHEREFORE, the defendant, Adrian Jose Romero, respectfully moves that his Motion

to Amend Indictment be granted.

                                                    Respectfully submitted,
                                                    ADRIAN JOSE ROMERO
                                                    By Counsel




       /s/ Helen E. Phillips
       Helen E. Phillips
       VSB No. 29708
       Phillips Law Firm, LLC
       P.O. Box 517
       Abingdon, Virginia 24212
       276-258-5591
       276-258-5592(fax)
       helen@phillips-lawfirm.com



                                    CERTIFICATE OF SERVICE

       I hereby certify that on this 25th day of July, 2019, I electronically filed the foregoing
with the Clerk of this Court using the CM/ECF system which will send notification of such filing
to counsel of record in this case.

                                                    /s/ Helen E. Phillips
                                                    Helen E. Phillips




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